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Counsel for Highland Capital Management, L.P.


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                                §
    In re:
                                                                §   Chapter 11
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                §   Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                §
                                                                §   Adversary Proceeding No.
                                    Plaintiff,
                                                                §
                                                                §   20-03107-sgj
    vs.
                                                                §
                                                                §
    PATRICK HAGAMAN DAUGHERTY,
                                                                §
                                                                §
                                    Defendant.




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                       JOINT STIPULATION OF DISMISSAL
                  OF ADVERSARY PROCEEDING WITH PREJUDICE

       Plaintiff Highland Capital Management, L.P. (“Highland”) and defendant Patrick

Hagaman Daugherty (“Mr. Daugherty”, and collectively with Highland, the “Parties”) hereby

enter into this Joint Stipulation of Dismissal of Adversary Proceeding with Prejudice (the

“Stipulation of Dismissal”) pursuant to Rule 7041 of the Federal Rules of Bankruptcy Procedure.

                                             Recitals

       WHEREAS, on October 16, 2019, Highland filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

       WHEREAS, Highland’s above-referenced chapter 11 case (the “Bankruptcy Case”) is

pending in the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

(the “Court”);

       WHEREAS, on February 22, 2021, the Court entered its Order (i) Confirming the Fifth

Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) and (ii)

Granting Related Relief [Bankr. Dkt. No. 1943] confirming the Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P. (as Modified) [Bankr. Dkt. No. 1808] (as

amended, supplemented, or modified, the “Plan”);

       WHEREAS, on August 11, 2021, the Effective Date (as defined in the Plan) occurred

[Bankr. Dkt. No. 2700];

       WHEREAS, Mr. Daugherty is a former employee and limited partner of Highland and

has served in other positions with affiliates and former affiliates of Highland;

       WHEREAS, on April 1, 2020, Mr. Daugherty filed a general, unsecured, non-priority

claim against Highland in the amount of at “least $37,483,876.59,” and such claim was denoted

by Highland’s claims agent as Proof of Claim No. 67 (“Proof of Claim No. 67”);


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       WHEREAS, on April 6, 2020, Mr. Daugherty filed a general, unsecured, non-priority

claim against Highland in the amount of at “least $37,482,876.62” that superseded Proof of Claim

No. 67 and that was denoted by Highland’s claims agent as Proof of Claim No. 77 (“Proof of

Claim No. 77”);

       WHEREAS, on August 31, 2020, Highland commenced the above-captioned adversary

proceeding (the “Adversary Proceeding”) against Mr. Daugherty by filing a complaint [Adv. Dkt.

No. 1] (the “Complaint”) in which Highland (i) objected to Proof of Claim No. 77 on various

grounds, and (ii) asserted a cause of action for the subordination of part of Mr. Daugherty’s claim

pursuant to section 510(b) of the Bankruptcy Code;

       WHEREAS, on September 29, 2020, Mr. Daugherty filed his answer to the Complaint

[Adv. Dkt. No. 8] in the Adversary Proceeding;

       WHEREAS, on October 23, 2020, Mr. Daugherty filed a motion seeking leave to amend

his Proof of Claim No. 77 [Bankr. Dkt. No. 1280] (the “POC Amendment Motion”). The

amended proof of claim attached to the POC Amendment Motion increased Mr. Daugherty’s

general, unsecured, non-priority claim against Highland to the amount of at “least

$40,410,819.42” and sought to supersede Proof of Claim No. 67 and Proof of Claim No. 77;

       WHEREAS, on December 10, 2020, the Court entered an order [Bankr. Dkt. No. 1533]

granting the POC Amendment Motion, and Mr. Daugherty was permitted to file an amendment

to his proof of claim. On December 23, 2020, Mr. Daugherty filed an amended proof of claim,

designated by Highland’s claims agent as Proof of Claim No. 205 (“Proof of Claim No. 205” or

the “Daugherty Claim”). Proof of Claim No. 205 superseded Proof of Claim No. 77 and increased

the amount of Mr. Daugherty’s claim to $40,710,819.42;

       WHEREAS, on or about November 22, 2021, Highland and Mr. Daugherty executed that

certain Settlement Agreement (the “Settlement Agreement”) attached as Exhibit 1 to the

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Declaration of John A. Morris in Support of the Reorganized Debtor’s Motion for Entry of an

Order Approving Settlement with Patrick Hagaman Daugherty (Claim No. 205) and Authorizing

Actions Consistent Therewith [Bankr. Dkt. No. 3089] (the “Morris Declaration”) filed in support

of the Reorganized Debtor’s Motion for Entry of an Order Approving Settlement with Patrick

Hagaman Daugherty (Claim No. 205) and Authorizing Actions Consistent Therewith [Bankr.

Dkt. No. 3088] (the “Settlement Motion”);

       WHEREAS, following an evidentiary hearing on the Settlement Motion held on March

1, 2022, the Court entered its Order Approving Settlement with Patrick Hagaman Daugherty

(Claim No. 205) and Authorizing Actions Consistent Therewith [Bankr. Dkt. No. 3298] (the

“Settlement Order”) approving the Settlement Motion and the Parties’ entry into the Settlement

Agreement;

       WHEREAS, as part of the Settlement Agreement, the Parties agreed that, within ten

business days after approval of the Settlement Agreement by the Court, the Parties would take all

steps necessary to, among other things, dismiss this Adversary Proceeding with prejudice.

       NOW, THEREFORE, the Parties hereby jointly stipulate and agree that upon the filing of

this Stipulation with the Court:

       1.      The Adversary Proceeding is dismissed WITH PREJUDICE.

       2.      This Adversary Proceeding is not a class action under Rule 23 of the Federal Rules

of Civil Procedure, a derivative action under Rule 23.1 of the Federal Rules of Civil Procedure,

or an action related to an unincorporated association under Rule 23.2 of the Federal Rules of Civil

Procedure.

       3.      This Adversary Proceeding is not governed by any federal statute that requires a

court order for dismissal of the Adversary Proceeding.

       4.      A receiver has not been appointed in this Adversary Proceeding.

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       5.     Highland has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this Adversary Proceeding.



Dated: March 29, 2022.
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                                              -and-

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                                              -and-




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